Case 1:18-cv-01320-LMB-TCB Document 40 Filed 10/23/18 Page 1 of 11 PageID# 198



            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF ILLINOIS

 Anish Kapoor,                             )
                                           )
                     Plaintiff,            )
                                           )
              v.                           )          Case No. 18 C 4252
                                           )
 National Rifle Association                )
 of America,                               )          Judge John Z. Lee
                                           )
                     Defendant.            )


                     MEMORANDUM OPINION AND ORDER

       London-based sculptor Anish Kapoor (“Kapoor”), who created and holds the

 copyright for the Cloud Gate sculpture in Chicago, has brought a copyright

 infringement claim against Defendant National Rifle Association of America (“the

 NRA”), alleging that the NRA improperly reproduced and distributed a video of Cloud

 Gate in violation of his exclusive copyright.

       The NRA has filed a motion to dismiss for lack of personal jurisdiction or, in

 the alternative, to transfer the case to the Eastern District of Virginia pursuant to

 28 U.S.C. § 1404(a) [25]. Kapoor opposes the motion and moves for jurisdictional

 discovery [35]. For the reasons stated herein, the Court denies Kapoor’s motion for

 jurisdictional discovery [35] and grants in part and denies in part the NRA’s motion

 to dismiss or transfer the case [25].

                                         Background

       Kapoor, who resides in London, England, completed the Cloud Gate sculpture

 (affectionately known in Chicago as “the Bean”) in 2006, at which time it was
Case 1:18-cv-01320-LMB-TCB Document 40 Filed 10/23/18 Page 2 of 11 PageID# 199



 installed in Chicago’s Millennium Park. Compl. ¶¶ 9, 12–13, ECF No. 1. Cloud Gate

 is still located in Millennium Park and, while the physical sculpture is owned by the

 City of Chicago, Kapoor holds the exclusive copyright.        Id. ¶¶ 12, 18–20.     The

 sculpture “attract[s] tourists and artists from around the world” and is a “destination

 site for many.” Id. ¶ 13.

       Kapoor contends that, in June 2017, the NRA broadcasted “on television and

 the internet” a video containing an image of Cloud Gate. Id. ¶¶ 14–15. The video,

 titled either “The Clenched Fist of Truth” or “The Violence of Lies,” warns of “civil

 unrest and violence, and states that the only way to save ‘our’ country from the ‘lies’

 of the liberal media and the ‘liberal agenda’ is with the ‘clenched fist of truth.’” Id.

 At or around the 17-second mark, Kapoor alleges, a “black-and-white image” of Cloud

 Gate is shown “in its entirety.” Id. Kapoor contends that the NRA has violated his

 exclusive copyright in Cloud Gate by “filming or videotaping it, making internal

 copies, incorporating it into its video . . . and distributing and displaying it to the

 public on television and through the internet.” Id. ¶¶ 21–22.

                                   Legal Standard

       A court that lacks personal jurisdiction over a defendant must dismiss the case

 as to that party. See Fed. R. Civ. P. 12(b)(2). If a defendant moves to dismiss

 pursuant to Federal Rule of Civil Procedure (“Rule”) 12(b)(2), it places the burden on

 the plaintiff to demonstrate that the court has personal jurisdiction over the

 defendant. Purdue Research Found. v. Sanofi-Synthelabo, S.A., 338 F.3d 773, 782


                                            2
Case 1:18-cv-01320-LMB-TCB Document 40 Filed 10/23/18 Page 3 of 11 PageID# 200



 (7th Cir. 2003). In making this determination, the court will “read the complaint

 liberally, in its entirety, and with every inference drawn in favor of” the plaintiff.

 Cent. States, Se. & Sw. Areas Pension Fund v. Phencorp Reinsurance Co., 440 F.3d

 870, 878 (7th Cir. 2006) (quoting Textor v. Bd. of Regents of N. Ill. Univ., 711 F.2d

 1387, 1393 (7th Cir. 1983)). “The precise nature of the plaintiff’s burden depends

 upon whether an evidentiary hearing has been held.” Purdue, 338 F.3d at 782. When

 there is no dispute of material fact and a court rules solely based on the submission

 of written materials, the plaintiff “‘need only make out a prima facie case of personal

 jurisdiction.’” Id. (quoting Hyatt Int’l Corp. v. Coco, 302 F.3d 707, 713 (7th Cir. 2002)).

 In making this determination, the court can consider affidavits and other supporting

 materials.   See id.   The court must resolve any conflicts in the affidavits and

 supporting materials in the plaintiff’s favor. Id. at 782–83.

       When considering a Rule 12(b)(2) motion, “[f]ederal courts ordinarily follow

 state law in determining the bounds of their jurisdiction over persons.” John Crane,

 Inc. v. Shein Law Ctr., Ltd., 891 F.3d 692, 695 (7th Cir. 2018) (quoting Walden v.

 Fiore, 571 U.S. 277, 283 (2014)). “The Illinois long-arm statute requires nothing more

 than the standard for federal due process: that the defendant have sufficient contacts

 with the forum state ‘such that the maintenance of the suit does not offend traditional

 notions of fair play and substantial justice.’” Id. (quoting Brook v. McCormley, 873

 F.3d 549, 552 (7th Cir. 2017)). And, as noted, it is the plaintiff’s burden to establish

 a prima facie showing of jurisdiction. Id.


                                              3
Case 1:18-cv-01320-LMB-TCB Document 40 Filed 10/23/18 Page 4 of 11 PageID# 201



       Pursuant to 28 U.S.C. § 1404(a), “[f]or the convenience of parties and

 witnesses, in the interest of justice, a district court may transfer any civil action to

 any other district or division where it might have been brought.” 28 U.S.C. § 1404(a).

 Once an appropriate alternate forum is identified, a court makes a two-pronged

 inquiry into both convenience and the interests of justice to decide whether transfer

 is warranted. Research Automation, Inc. v. Schrader-Bridgeport Int’l, Inc., 626 F.3d

 973, 978 (7th Cir. 2010). The movant has the burden of establishing, “by reference to

 particular circumstances, that the transferee forum is clearly more convenient.”

 Coffey v. Van Dorn Iron Works, 796 F.2d 217, 219–20 (7th Cir. 1986).

       The factors relevant to the convenience inquiry include “the availability of and

 access to witnesses, and each party’s access to and distance from resources in each

 forum,” as well as “the location of material events and the relative ease of access to

 sources of proof.” Research Automation, 626 F.3d at 978. As for the interests of

 justice, a court will consider “docket congestion and likely speed to trial” in each

 forum, “each court’s relative familiarity with the relevant law,” “the respective

 desirability of resolving controversies in each locale,” and “the relationship of each

 community to the controversy.”        Id.   The interest-of-justice inquiry “may be

 determinative, warranting transfer or its denial even where the convenience of the

 parties and witnesses points toward the opposite result.” Id. Because ruling on a

 motion to transfer venue requires an “individualized, case-by-case consideration of

 convenience and fairness,” the district court is afforded broad discretion and


                                             4
Case 1:18-cv-01320-LMB-TCB Document 40 Filed 10/23/18 Page 5 of 11 PageID# 202



 substantial deference in weighing the factors for and against transfer. Coffey, 796

 F.2d at 219 (internal citation and quotation marks omitted).

                                         Analysis

          The NRA seeks dismissal of Kapoor’s complaint on the basis that the Court

 lacks general or specific personal jurisdiction over it. Kapoor does not argue that the

 NRA is subject to general jurisdiction in Illinois, but contends that he has established

 a prima facie showing as to specific jurisdiction.

          The key question in evaluating specific jurisdiction is whether it is “fair and

 reasonable to call the defendant into the state’s courts to answer the plaintiff’s claim.”

 uBID, Inc. v. GoDaddy Grp., Inc., 623 F.3d 421, 426 (7th Cir. 2010). To answer this

 question in the affirmative, a defendant’s contacts with the forum state must directly

 relate to or arise out of the challenged conduct. E.g., John Crane, 891 F.3d at 695–

 96 (citing Brook, 873 F.3d at 552). This means that the “contacts should either bear

 on the substantive legal dispute between the parties or relate to the operative facts

 of the case.” GCIU–Emp’r Ret. Fund v. Goldfarb Corp., 565 F.3d 1018, 1024 (7th Cir.

 2009).

          Moreover, “[t]he exercise of specific jurisdiction must also comport with

 traditional notions of fair play and substantial justice.” N. Grain Mktg., LLC v.

 Greving, 743 F.3d 487, 492–93 (7th Cir. 2014). The relevant concerns are “the burden

 on the defendant, the forum state’s interest in adjudicating the dispute, the plaintiff’s

 interest in obtaining convenient and effective relief, the interstate judicial system’s


                                             5
Case 1:18-cv-01320-LMB-TCB Document 40 Filed 10/23/18 Page 6 of 11 PageID# 203



 interest in efficiently resolving controversies, and the shared interest of the states in

 furthering fundamental substantive social policies.” GoDaddy, 623 F.3d at 432–33.

       While “the contacts supporting specific jurisdiction can take many . . . forms,”

 id. at 426, a paradigmatic example is when a defendant commits a tort in the forum

 state, see Moncrief Oil Int’l Inc. v. OAO Gazprom, 481 F.3d 309, 314 (5th Cir. 2007),

 or when it “deliberate[ly] and continuous[ly] exploit[s] . . . the market in a forum

 state.” Mobile Anesthesiologists Chi., LLC v. Anesthesia Assocs. of Houston Metroplex,

 P.A., 623 F.3d 440, 446 (7th Cir. 2010) (citing GoDaddy, 623 F.3d 421). At the same

 time, a court must be mindful that it “cannot simply aggregate all of a defendant’s

 contacts with a state—no matter how dissimilar in terms of geography, time, or

 substance—as evidence of the constitutionally-required minimum contacts.”

 GoDaddy, 623 F.3d at 429 (quoting RAR, Inc. v. Turner Diesel, Ltd., 107 F.3d 1272,

 1277 (7th Cir. 1997)).

       Here, the NRA argues that it should not be subject to specific personal

 jurisdiction because its video was distributed nationwide and did not specifically

 target Illinois. It characterizes the alleged tort as the “distributing and displaying”

 of its video of Cloud Gate. Def.’s Mem. Supp. Mot. Dismiss or Transfer (“Def.’s Mem.

 Supp.”) at 4, ECF No. 26. Kapoor, for his part, contends that the NRA is subject to

 personal jurisdiction in Illinois because the video of Cloud Gate was taken without

 authorization here.




                                            6
Case 1:18-cv-01320-LMB-TCB Document 40 Filed 10/23/18 Page 7 of 11 PageID# 204



        Any inquiry into specific jurisdiction must start with the claims.            Here,

 Kapoor’s complaint alleges that the NRA infringed his exclusive copyright in multiple

 ways, including: (1) “filming or videotaping it,” (2) “making internal copies,”

 (3) “incorporating it into its video,” and (4) “distributing and displaying it to the public

 on television and through the internet.” Compl. ¶ 22. The NRA focuses on the alleged

 distribution of the video depicting the Bean and argues that it did not specifically

 target residents of this district.     But the Copyright Act not only prohibits the

 unauthorized distribution of a copyrighted work, see 17 U.S.C. § 106(3); it also

 prohibits the unauthorized reproduction of the work, see id. § 106(1). And it is

 undisputed that the video of Cloud Gate was taken in Illinois. Thus, the NRA’s

 contacts with Illinois directly relate to or arise out of its alleged filming of Cloud Gate,

 which necessarily occurred in Illinois and allegedly injured Kapoor. See John Crane,

 891 F.3d at 695–96; see also Moncrief Oil Int’l Inc., 481 F.3d at 314 (holding that

 “tortious conduct amounts to sufficient minimum contacts with the state by the

 defendant to constitutionally permit courts within that state” to exercise personal

 jurisdiction) (internal quotation marks and citation omitted); Ploense v. Electrolux

 Home Prods., Inc., 882 N.E.2d 653, 659 (Ill. App. Ct. 2007) (explaining that

 “commission of a tortious act within” the state is grounds for personal jurisdiction).

        But wait, the NRA responds. The video of the Cloud Gate was taken by a third-

 party photographer who worked for an advertising agency retained by the NRA, not

 by the NRA itself. Kapoor insists that the photographer was an “agent” of the NRA


                                              7
Case 1:18-cv-01320-LMB-TCB Document 40 Filed 10/23/18 Page 8 of 11 PageID# 205



 purposes of the jurisdictional analysis; the NRA disagrees.                   Whether the

 photographer in fact was the NRA’s agent is a question of fact that the Court cannot

 resolve on the current record, see Spitz v. Proven Winners N. Am., LLC, 759 F.3d 724,

 732 (7th Cir. 2014), and would ordinarily warrant jurisdictional discovery. See In re

 Testosterone Replacement Therapy Prods. Liability Litig. Coordinated Pretrial

 Proceedings, 136 F. Supp. 3d 968, 973 (N.D. Ill. 2015).            But because the Court

 concludes—for the reasons discussed below—that this case should proceed in a

 different forum, it declines to order such discovery here.

        The NRA believes that this case should be transferred to the Eastern District

 of Virginia, where it does not dispute jurisdiction.1 In support, the NRA points out

 that it and its employees are located there, that decisions pertaining to the video were

 made there, and that evidence pertaining to the video is located there. Additionally,

 it argues that this district has “no connection to the underlying claim” because the

 video was distributed nationwide, that Kapoor lives in London and thus has no

 convenient connection to either district, and that the Eastern District of Virginia has

 a reputation for resolving cases quickly.




 1      The NRA characterizes its request as arising under the common-law doctrine of forum
 non conveniens. Forum non conveniens is applicable only when the alternate forum is abroad,
 or in rare circumstances where a state or territorial court would be more convenient.
 Sinochem Int’l Co. Ltd. v. Malaysia Int’l Shipping Corp., 549 U.S. 422, 430 (2007). Where
 the alternate forum is another federal district court, and that forum is of “superior
 convenience,” 28 U.S.C. § 1404(a) has displaced the doctrine of forum non conveniens and
 provides for transfer, rather than dismissal. In re Hudson, 710 F.3d 716, 718 (7th Cir. 2013).

                                               8
Case 1:18-cv-01320-LMB-TCB Document 40 Filed 10/23/18 Page 9 of 11 PageID# 206



       On balance, the Court agrees that the Eastern District of Virginia is a more

 convenient forum in which to litigate this case. Kapoor does note that he has chosen

 to litigate in Illinois, and a plaintiff’s choice “should rarely be disturbed.” In re

 Bridgestone/Firestone, Inc., 420 F.3d 702, 704 (7th Cir. 2005). “Rarely, however, is

 not never.” In re Nat’l Presto Indus., 347 F.3d 662, 664 (7th Cir. 2003) (collecting

 cases). Here, the Court concludes that, although at least one possible tort (that is,

 filming Cloud Gate without permission) occurred in Illinois, nearly all of the evidence

 related to that tort will come from witnesses who do not reside in Illinois. And

 Kapoor, a London resident, has no connection to Illinois other than the existence of

 his sculpture here.

       What is more, the other convenience factors under § 1404(a) weigh heavily in

 favor of the NRA. For instance, the NRA is headquartered in Fairfax, Virginia, so

 that location is far more convenient for it than Illinois. Similarly, many of the likely

 witnesses in this case work at the NRA’s headquarters or nearby. And although it is

 true that the convenience of witnesses employed by a party is entitled to little weight,

 it is still a relevant factor. See, e.g., Hyatt Corp. v. Pers. Commc’ns Indus. Ass’n,

 No. 04 C 4656, 2004 WL 2931288, at *4 (N.D. Ill. Dec. 15, 2004) (considering the

 location of employee-witnesses when analyzing the convenience of the parties). This

 is particularly the case here, where the convenience of non-party witnesses is a non-

 factor because they all are located outside of Illinois and Virginia. Finally, documents

 pertaining to this case are located at the NRA’s headquarters, which tilts slightly in


                                            9
Case 1:18-cv-01320-LMB-TCB Document 40 Filed 10/23/18 Page 10 of 11 PageID# 207



 favor of Virginia, although in this age of electronic discovery, documentary evidence

 is easily transferable.

       The interests of justice—the second element of the § 1404 inquiry—also weigh

 in the NRA’s favor. The NRA has presented evidence that the Eastern District of

 Virginia typically resolves cases faster than this district. See Def.’s Ex. D, U.S. Dist.

 Ct. Judicial Caseload Profile, ECF No. 26-4. Moreover, it correctly contends that

 Virginia has an interest in a dispute concerning the rights of its citizens to free

 speech.

       According to Kapoor, Illinois too has an interest in the Cloud Gate sculpture,

 because it is a public work of art. And certainly the residents of this district are

 justifiably proud of the Bean. What is more, the Bean is a very popular tourist

 attraction. However, whether such general public interests have any relationship to

 the issues raised in this lawsuit—Kapoor’s copyright versus the NRA’s First

 Amendment right to advocate its view of the Second Amendment—is less clear. And

 Kapoor has not provided any authority to support such a contention.

       Other justice-related factors—such as each court’s relative familiarity with the

 relevant law, and the respective desirability of resolving controversies in each

 locale—are neutral.

       In sum, the only factors under § 1404(a) weighing in the Plaintiff’s favor are

 his choice of Illinois as a forum and the presence of the Cloud Gate sculpture here.

 Weighing in the NRA’s favor are the convenience to it as a party and to its employees


                                            10
Case 1:18-cv-01320-LMB-TCB Document 40 Filed 10/23/18 Page 11 of 11 PageID# 208



 as witnesses, the ease of access to sources of proof, the likelihood of a faster resolution

 in the Eastern District of Virginia, and Virginia’s interest in the controversy. On

 balance, the Court finds that the factors weigh in favor of transfer to the Eastern

 District of Virginia, so the NRA’s request to transfer this case is granted.

                                       Conclusion

       For the reasons stated herein, Plaintiff’s motion [35] for jurisdictional

 discovery is denied. Defendant’s motion [25] is granted in part and denied in part.

 This case is transferred to the Eastern District of Virginia forthwith and terminated

 on this Court’s docket.



 IT IS SO ORDERED.                         ENTERED 10/23/18



                                           __________________________________
                                           John Z. Lee
                                           United States District Judge




                                             11
